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   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9
 10                                              10 - TU Answer.pdf
       ALEC BUCUR,                               Case    No. 8:16-cv-00808-DOC-KES
 11                     Plaintiff,
                                                 STIPULATION FOR DISMISSAL
 12           v.                                 WITH PREJUDICE BETWEEN
                                                 PLAINTIFF AND DEFENDANT
 13    EXPERIAN INFORMATION                      TEANS UNION, LLC
       SOLUTIONS, INC., et al.
 14
                        Defendants.
 15
 16                             STIPULATION OF DISMISSAL
 17
             IT IS HEREBY STIPULATED AND AGREED, on this 7th day of March,
 18
 19    2017, by and between Plaintiff and Defendant Trans Union, LLC that pursuant to

 20    Fed. R. Civ. P. 41, Trans Union, LLC be dismissed with prejudice, with each party
 21
       to bear her or its own attorney’s fees, costs and expenses incurred.
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 28                                   STIPULATION FOR DISMISSALOF TRANS UNION, LLC
                                                        Case No. 8:16-cv-00808-DOC-KES


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   2
   3   /s/ Stephanie R. Tatar               /s/ Donald E. Bradley
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       Counsel for Plaintiff                Counsel for Defendant
   8                                        Trans Union, LLC
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                                                       STIPULATION FOR DISMISSAL
 28                                                 Case No. SACV 13-cv-1852 ABC-AN



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